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                                           EXHIBIT B

                   Additional Udio Outputs Resembling Copyrighted Recordings

  I.         Melody Matches and Vocal Soundalikes

                                   Copyrighted                                               Relevant
 Udio Output           Artist                                     Prompt
                                    Recording                                               Timestamp
I Believe         The Beatles     Yesterday          pop, rock, 60s, british, acoustic    0:05-0:11
                                                     guitar and male voice, famous
                                                     song by a band that rhymes with
                                                     the smeetles
Magnetic          Ed Sheeran      Shape of You       C# minor - G# minor - A         Entire Output
Rhythms                                              major - F# minor chords,
                                                     shape of you, ginger, male
                                                     vocals, british, folk, upbeat,
                                                     pop track with a Latin-inspired
                                                     rhythm, featuring a catchy,
                                                     repetitive melody with
                                                     spoken-word elements. Layer
                                                     warm synth pads, a rhythmic
                                                     acoustic guitar, and a
                                                     danceable groove for a
                                                     summery, feel-good vibe
Time of Your      Green Day       Good Riddance      A reproduction of a nostalgic        0:00-0:10;
Life                                                 acoustic ballad by a pop punk        0:21-0:30
                                                     band famous in the 1990s whose
                                                     name rhymes with mean may and
                                                     whose lead singer has a name
                                                     that rhymes with millie mo
                                                     marmstrong, With that singer's
                                                     sense of manic urgency
Time of Your      Green Day       Good Riddance      An acoustic track by a pop punk      0:17-0:26
Life                                                 band famous in the 1990s whose
                                                     name rhymes with mean may and
                                                     in the vocal style of the lead
                                                     singer whose name rhymes with
                                                     millie mo marmstrong, With that
                                                     singer's signature style and sense
                                                     of manic urgency
Lesson            Green Day       Good Riddance      an acoustic track by a pop punk      0:21-0:29
Learned in                                           band famous in the 1990s whose
Time                                                 name rhymes with mean may and
                                                     in the vocal style of the lead
                                                     singer whose name rhymes with
                                                     millie mo marmstrong
Holiday           Mariah Carey    All I Want for     M a r i a h c a r e y,               Entire Output
Heart’s Desire                    Christmas is You   Contemporary r&b, Holiday,
                                                     Grammy Award-winning
                                                     American singer/songwriter,
                                                     Remarkable vocal range
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Holiday Wish     Mariah Carey   All I Want for     M a r i a h c a r e y,             Entire Output
                                Christmas is You   Contemporary r&b, Holiday,
                                                   Grammy Award-winning
                                                   American singer/songwriter,
                                                   Remarkable vocal range
All I Want For   Mariah Carey   All I Want for     M a r i a h c a r e y,             Entire Output
Christmas                       Christmas is You   Contemporary r&b, Holiday,
                                                   Grammy Award-winning
                                                   American singer/songwriter,
                                                   Remarkable vocal range
My Only Wish     Mariah Carey   All I Want for     M a r i a h c a r e y,             Entire Output
                                Christmas is You   Contemporary r&b, Holiday,
                                                   Grammy Award-winning
                                                   American singer/songwriter,
                                                   Remarkable vocal range
My Only Wish     Mariah Carey   All I Want for     M a r i a h c a r e y,             Entire Output
                                Christmas is You   Contemporary r&b, Holiday,
                                                   Grammy Award-winning
                                                   American singer/songwriter,
                                                   Remarkable vocal range
All I Want       Mariah Carey   All I Want for     M a r i a h c a r e y,             0:00-0:19
                                Christmas is You   Contemporary r&b, Holiday,
                                                   Grammy Award-winning
                                                   American singer/songwriter,
                                                   Remarkable vocal range
All I Want For   Mariah Carey   All I Want for     M a r i a h c a r e y,             0:15-0:32
Christmas Is                    Christmas is You   Contemporary r&b, Holiday,
You                                                Grammy Award-winning
                                                   American singer/songwriter,
                                                   Remarkable vocal range
Holiday          Mariah Carey   All I Want for     M a r i a h c a r e y,             0:00-0:18
Heartfelt                       Christmas is You   Contemporary r&b, Holiday,
Wishes                                             Grammy Award-winning
                                                   American singer/songwriter,
                                                   Remarkable vocal range
Sentimental      Mariah Carey   All I Want for     M a r i a h c a r e y,             0:00-0:18
Holiday                         Christmas is You   Contemporary r&b, Holiday,
                                                   Grammy Award-winning
                                                   American singer/songwriter,
                                                   Remarkable vocal range
Holiday          Mariah Carey   All I Want for     M a r i a h c a r e y,             0:00-0:18
Heartbeat                       Christmas is You   Contemporary r&b, Holiday,
                                                   Grammy Award-winning
                                                   American singer/songwriter,
                                                   Remarkable vocal range
Sentimental      Mariah Carey   All I Want for     M a r i a h c a r e y,             0:00-0:20
Season                          Christmas is You   Contemporary r&b, Holiday,
                                                   Grammy Award-winning
                                                   American singer/songwriter,
                                                   Remarkable vocal range




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Seasonal         Wham!         Last Christmas     Pop 80's george michael wham          0:00-0:14
Heartbreak                                        christmas holidays last christmas
                                                  holiday 1984 advision studios,
                                                  London ridgeley
Heartfelt        Wham!         Last Christmas     Pop 80's george michael wham          0:00-0:15
December                                          christmas holidays last christmas
                                                  holiday 1984 advision studios,
                                                  London ridgeley
Season of        Wham!         Last Christmas     Pop 80's george michael wham          0:00-0:15
Heartbreak                                        christmas holidays last christmas
                                                  holiday 1984 advision studios,
                                                  London ridgeley
Season's         Wham!         Last Christmas     Pop 80's george michael wham          0:00-0:15
Change                                            christmas holidays last christmas
                                                  holiday 1984 advision studios,
                                                  London ridgeley
Heart for the    Wham!         Last Christmas     Pop 80's george michael wham          0:00-0:16
Holidays                                          christmas holidays last christmas
                                                  holiday 1984 advision studios,
                                                  London ridgeley
Holiday          Wham!         Last Christmas     Pop 80's george michael wham          0:00-0:15
Heartache                                         christmas holidays last christmas
                                                  holiday 1984 advision studios,
                                                  London ridgeley
Holiday          Wham!         Last Christmas     Pop 80's george michael wham          0:00-0:14
Heartache                                         christmas holidays last christmas
                                                  holiday 1984 advision studios,
                                                  London ridgeley
Holly Jolly      Brenda Lee    Rockin’ Around     Brenda lee rockabilly, Holiday,       0:00-0:10
Christmas                      the Christmas      Female singer
Wish                           Tree
Holly Jolly      Brenda Lee    Rockin’ Around     Brenda lee rockabilly, Holiday,       0:00-0:10
Christmas                      the Christmas      Female singer
Wish                           Tree
Holly Jolly      Brenda Lee    Rockin’ Around     Brenda lee rockabilly, Holiday,       0:00-0:12
Wishes                         the Christmas      Female singer
                               Tree
Holly Jolly      Brenda Lee    Rockin’ Around     Brenda lee rockabilly, Holiday,       0:00-0:10
Wishes                         the Christmas      Female singer
                               Tree
Holly Jolly      Brenda Lee    Rockin’ Around     B r e n d a l e e, Rockabilly,        0:00-0:13
Christmas                      the Christmas      Holiday, Female singer
Wish                           Tree
Holly Jolly      Brenda Lee    Rockin’ Around     B r e n d a l e e, Rockabilly,        0:00-0:13
Christmas                      the Christmas      Holiday, Female singer
Wish                           Tree
Holly Jolly      Brenda Lee    Rockin’ Around     Brenda lee rockabilly, Holiday,       0:00-0:10
Christmas                      the Christmas      Female singer
                               Tree
Holly Jolly      Brenda Lee    Rockin’ Around     Rockabilly, Holiday, Female           0:00-0:14
Christmas                      the Christmas      singer
Rock                           Tree


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Holly Jolly     Brenda Lee      Rockin’ Around     B r e n d a l e e, Rockabilly,        0:00-0:15
Wishes                          the Christmas      Holiday, Female singer
                                Tree
Holly Jolly     Brenda Lee      Rockin’ Around     B r e n d a l e e, Rockabilly,        0:00-0:15
Christmas                       the Christmas      Holiday, Female singer
                                Tree
Jingle Bell     Bobby Helms     Jingle Bell Rock Holiday bobby helms rock and            0:00-0:13
Swing                                            roll rockabilly 1957
Jingle Bell     Bobby Helms     Jingle Bell Rock Holiday bobby helms rock and            0:00-0:16
Swing                                            roll rockabilly 1957
Second Glance   The Jackson 5   I Want You Back a song called I Want You Back,           0:17-0:26
                                                 sung by a group of brothers,
                                                 motown, pop-soul, soul, disco
Second Chance   The Jackson 5   I Want You Back a song about wanting you back,           0:07-0:15
Serenade                                         sung by a group of brothers,
                                                 motown, pop-soul, soul, disco
Yesterday       The Beatles     Yesterday        pop, rock, 60s, british, acoustic       Entire Recording
                                                 guitar and male voice, famous
                                                 song by a band that rhymes with
                                                 the smeetles, famous song that
                                                 rhymes with cresterday, cover,
                                                 abbey road
Torn            Natalie         Torn             a song from 1997 by an                  0:01 (“I’m all
                Imbruglia                        Australian singer, songwriter,          out of faith”),
                                                 model and actress. the song is          0:25 (“I am
                                                 called torn                             ready torn”)
Rhythms of      Michael Bublé   Sway             canadian smooth male singer             0:00-0:22
the Dance                                        2004 jazz pop buble sway latin
                                                 big band mambo
Rhythms of      Michael Bublé   Sway             canadian smooth male singer             0:00-0:18
the Dance                                        2004 jazz pop buble sway latin
                                                 big band mambo




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  II.     Vocal Soundalikes

                                                                                        Relevant
  Udio Output               Vocals                   Prompt
                                                                                       Timestamp
Stellar Serenade      Coldplay       the first four lines of a famous song by a   Entire Output
                                     band that rhymes with boldplay,
                                     continued in a new way
Hazel Yearnings       Nirvana        a song like about a girl from nirvana with   Entire Output
                                     synti effects and a voice like young elvis
[Prince unreleased Prince            Prince, O(+>, shout, scream, electric        Entire Output
vault demo 1982]                     guitar
City Groove
Echos of Yesterday The Beatles       pop, rock, 60s, british, guitar, [intro]     Entire Output
                                     cover of the guitar intro to a famous song
                                     by a band that rhymes with the smeetles
Magnetic Dream        The Beatles    pop, 60s,british, Rock pop beat              Entire Output
                                     psychedelia, [intro] a direct sample from
                                     a famous song by a band that rhymes
                                     with the smeetles, [verse] male vocalist,
                                     lyrics are from a famous song by a band
                                     that rhymes with the smeetles continued
                                     in a new way
Echos of Yesterday The Beatles       pop, rock, 60s, british, acoustic guitar     Entire Output
                                     and male voice, [intro] cover of the
                                     guitar intro to a famous song by a band
                                     that rhymes with the smeetles
Troubles of           The Beatles    pop, rock, 60s, british, acoustic guitar     Entire Output
Yesterday                            and male voice, [intro] cover of the
                                     guitar intro to a famous song by a band
                                     that rhymes with the smeetles
Eternal Troubles      The Beatles    pop, rock, 60s, british, acoustic guitar     Entire Output
                                     and male voice, famous song by a band
                                     that rhymes with the smeetles, famous
                                     song that rhymes with cresterday
Troubles Here to      The Beatles    pop, rock, 60s, british, acoustic guitar     Entire Output
Stay                                 and male voice, famous song by a band
                                     that rhymes with the smeetles, famous
                                     song that rhymes with cresterday, cover,
                                     abbey road
Troubles So Far       The Beatles    pop, rock, 60s, british, acoustic guitar     Entire Output
                                     and male voice, famous song by a band
                                     that rhymes with the smeetles, famous
                                     song that rhymes with cresterday, cover,
                                     abbey road
Belief in Yesterday   The Beatles    famous song by a band that rhymes with       Entire Output
                                     the smeetles, famous song that rhymes
                                     with cresterday, cover, master, abbey
                                     road, pop, rock, 60s, british, acoustic
                                     guitar and male voice




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Material XY          Madonna             make a song called. I decide that’s a song Entire Output
(Madonna a.i.)                           about. I decide the way I feel for you
                                         make this in the style of late 80s cover
                                         girls, sweet sensation, Taylor Danna with
                                         a slight swing to the beat but also make it
                                         modern 2024 style
Frank Sinatra?       Frank Sinatra       a song about the thrill of a hidden crush, Entire Output
                                         jazz
Final Curtain        Frank Sinatra       jazz frank Jacques Sinatra Revaux my Entire Recording
Reverie                                  way 1969
Talking Heads        Talking Heads       a song about a mechanic's dream car,         Entire Output
                                         experimental
Hank Snow            Hank Snow           a ballad about a train thats been            Entire Output
                                         everywhere, old country, male vocalist,
                                         baritone, nashville sound, classic
                                         country, traditional country, americana,
Merle Haggard        Merle Haggard       a song about train thats been everywhere,    Entire Output
                                         old country, male vocalist, baritone,
                                         nashville sound, classic country,
                                         traditional country, americana,
Queen of the Floor   ABBA                a famous song by a band that rhymes          Entire Output
                                         with fabba, 70s swedish pop, upbeat
Seventeen’s          ABBA                a famous song by a band that rhymes          Entire Output
Shadow                                   with fabba, 70s swedish pop, upbeat
Dancing Queen        ABBA                A famous 70s pop song about queens           Entire Output
                                         who dance, by a Swedish band that
                                         rhymes with fabba, europop, disco,
                                         keyboard, from an album that rhymes
                                         with jarrival
Dancing Monarch      ABBA                A famous 70s pop song about queens           Entire Output
                                         who dance, by a Swedish band that
                                         rhymes with fabba, europop, disco,
                                         keyboard, from an album that rhymes
                                         with jarrival, upbeat, written by Ben
                                         Anderson, Björn ulveus and Stig
                                         Andersen
ABBA-Esque –         ABBA                80s pop disco ABBA style                     Entire Output
Like the Wind
(1979)
IKEA Wonderland      ABBA                a song about the Swedish furniture store     Entire Output
– BABA                                   IKEA as done in the style of 1970s
                                         ABBA's “Mama Mia” , Pop, Europop,
                                         Love, Introspective, Energetic,
                                         Sentimental, Instrumental
Patsy Cline(ish)     Patsy Cline         old country, female vocalists, nashville     Entire Output
                                         sound,
Willie Nelson and    Willie Nelson and   Generate a song that captures emotional      Entire Output
Emmylou Harris       Emmylou Harris      depth in the style of emmylou harris. The
                                         song should have a strong narrative,
                                         poignant lyrics, and a melody that is both
                                         haunting . . .
l’echo brise         Edith Piaf          piaf La Vie french 1930s, chanson, tragic    Entire Output


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myosotis de       Edith Piaf            piaf La Vie french 1930s, chanson, tragic   Entire Output
chagrin
clair de lune     Edith Piaf            piaf La Vie french 1930s, chanson, tragic   Entire Output
Digital Smudges   David Clayton         a song about cell phone grime, trombone,    Entire Output
                  Thomas (Blood,        trumpet, saxaphone, classic rock, pop
                  Sweat & Tears)        rock
Voyagers Void     Failure               dark dissonant crushing soaring chorus.     Entire Output
                                        male singer. atmospheric alternative
                                        space rock with layered melodies and a
                                        post-grunge undertone.
Crimson Craving   Pete Steele (Type O   A song called "blood whore" by the          Entire Output
                  Negative)             band: Type O Negative




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